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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS,

AMERICAN ASSOCIATION OF                      Civil Action No. 1:25-cv-10685
UNIVERSITY PROFESSORS-HARVARD
FACULTY CHAPTER,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS AT NEW
YORK UNIVERSITY,

RUTGERS AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-AMERICAN
FEDERATION OF TEACHERS, and

MIDDLE EAST STUDIES ASSOCIATION,

                     Plaintiffs,

              v.

MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT
OF STATE,

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security, and the
DEPARTMENT OF HOMELAND
SECURITY,

TODD LYONS, in his official capacity as
Acting Director of U.S. Immigration and
Customs Enforcement,

DONALD J. TRUMP, in his official capacity
as President of the United States, and

UNITED STATES OF AMERICA,

                     Defendants,

  [PROPOSED] BRIEF OF AMICUS CURIAE THE PRESIDENTS’ ALLIANCE ON
        HIGHER EDUCATION AND IMMIGRATION IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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                                   INTEREST OF AMICUS CURIAE

          Amicus curiae the Presidents’ Alliance on Higher Education and Immigration (the “Alli-

ance”) submits this brief to advise the Court of the effects of the administration’s policy of target-

ing non-citizen students and faculty at institutions of higher education throughout the country

based on their political views.1 The Alliance is uniquely positioned to do so. It consists of over

570 presidents and chancellors of colleges and universities who lead institutions public and pri-

vate, large and small, urban and rural, faith-based and secular, across the country. These institu-

tions collectively educate over five million of the approximately eighteen million post-secondary

students in the United States and contribute to our nation’s economic growth, innovation, and na-

tional security. The Alliance is dedicated to increasing public understanding of the impact of im-

migration policies on higher education, supporting policies that encourage international students

and scholars to enrich American institutions of higher learning, and ensuring a talent pool that

contributes to our communities and nation. It has a strong interest in explaining the policy’s effects.

          The following 86 institutions and associations support the Alliance’s filing of this brief:

    AIRC: The Association of In-     Gustavus Adolphus College        Santa Clara University
    ternational Enrollment Man-
                                     Hamilton College                 Scripps College
    agement
                                     Hamline University               Seattle University
    Amherst College
                                     Harold Washington College        Smith College
    Antioch College
                                     Haverford College                Soka University of America
    Association of Catholic Col-
    leges and Universities           Hofstra University               St. Catherine University
    Association of International     Illinois Institute of Technol-   St. Lawrence University
    Education Administrators         ogy                              St. Olaf College
    (AIEA)                           Loma Linda University            Suffolk University
    Augsburg University              Loyola University Maryland       Swarthmore College


1
  No counsel for a party authored this brief in whole or in part, and no counsel or party made a
monetary contribution intended to fund the preparation or submission of this brief. No person other
than amicus curiae made a monetary contribution to the preparation or submission of this brief.
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 Augustana College                Macalester College - Saint       The College of St Scholastica
 Bard College                     Paul, MN ( MBR )                 The College of Wooster
                                  Maine College of Art and De- The President & Fellows of
 Bates College
                                  sign                         Middlebury College
 Bennington College
                                  Marymount University         The President and Trustees of
 Bentley University
                                  Maryville College                Colby College
 Carleton College
                                  Michigan State University        Toyota Technological Insti-
 Clark University                                                  tute at Chicago
                                  Mount Holyoke College
 College of Saint Benedict and                                     Trinity College (CT)
 Saint John's University          MSU Denver
                                                                   Trinity Washington Univer-
 College of the Atlantic          Naropa University
                                                                   sity
                                  National Association for Col-
 Concordia College                                                 Trustees of the College of the
                                  lege Admission Counseling
 Concordia University St. Paul                                     Holy Cross
                                  Northern Illinois University
 Delaware State University                                         University of Dayton
                                  Notre Dame de Namur Uni-
 Dominican University                                              University of Maryland East-
                                  versity
                                                                   ern Shore
 Donnelly College                 Occidental College
                                                                   University of Redlands
 Eastern Oregon University        Oregon State University
                                                                   University of San Diego
 Edgewood College                 Pacific Lutheran University
                                                                   University of St. Thomas
 Foothill-De Anza Community PEN American Center, Inc.
 College District                                                  University of the West
                            Pitzer College
 Fordham University                                                University System of Mary-
                            Pomona College                         land
 Georgetown University
                            Reed College                           Wesleyan University
 Gonzaga University
                            Regis University                       Western Oregon University
 Goucher College
                            Riverside Community Col-               Williams College
 Grinnell College           lege District
                                  Rutgers, The State University
                                  of New Jersey
                                 PRELIMINARY STATEMENT

       The policy has created a climate of fear among non-citizens at American colleges and uni-

versities. The administration has made high-profile arrests of non-citizens based on their political

views, revoked the visas of hundreds of international students, and terminated foreign students’

records in the Student Visitor and Exchange System (“SEVIS”). It is also threatening the ability



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of schools to enroll any foreign students at all through decertification under the Student Exchange

and Visitor Program (“SEVP”). Seeing these actions, non-citizen students and faculty report being

scared that they, too, will be targeted by the administration. As Tufts University said recently:

“In the worst cases, many [foreign students] report being fearful of leaving their homes, even to

attend and teach classes on campus.”2 This fear extends beyond non-citizens who have expressed

pro-Palestinian views; many are afraid of expressing any political views contrary to those of the

current administration for fear of reprisal.

       This climate of fear will repel international students, scholars, and other non-citizens from

attending or teaching at American colleges and universities—all of which will harm the United

States in multiple ways. Reduced non-citizen enrollment in American schools will harm American

students, who will be denied the educational benefits of learning with and from citizens of other

countries. It will harm American colleges and universities too, as they lose those educational ben-

efits and lose enrollments, faculty, and tuition. It will harm the American economy, limiting the

economic contributions made by hundreds of thousands of non-citizens. Because of the high con-

centration of non-citizens in scientific and technological fields, it will hurt American research and

innovation. And it will exacerbate the troubling trend of top foreign students choosing non-US

institutions over American schools—handing a competitive advantage to other countries.

       This reality exposes the policy’s underlying premise as false. The policy presumes that it

will benefit the United States while harming only those non-citizens whom the administration dis-

favors. In fact, in the long run, the policy will benefit other countries—by encouraging ever more

non-citizens to attend foreign schools instead of American schools—and it will grievously harm




2
    University Declaration        for   Rümeysa       Öztürk,     Tufts   Univ.   (Apr.   2,   2025),
https://tinyurl.com/yck9pa8y.
                                                  3
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the United States, by depriving this country of the many benefits that non-citizens at American

colleges and universities provide and by diminishing American higher education.

                                              ARGUMENT

I.          THE ADMINISTRATION’S POLICY HAS CREATED A CLIMATE OF FEAR
            AMONG NON-CITIZENS AT U.S. COLLEGES AND UNIVERSITIES

            A.     The President’s Executive Orders and the Administration’s Actions

            Shortly after taking office, the President issued two executive orders relating to non-citi-

zens at United States post-secondary institutions.3 The administration has since arrested several

non-citizens involved with higher education based on their purported political views, including

(1) Mahmoud Khalil, a recent graduate of Columbia University’s School of International Public

Affairs;4 (2) Badar Khan Suri, an Indian scholar at Georgetown University whose research focuses

on peacebuilding in the Middle East;5 and (3) Rümeysa Öztürk, a Turkish Ph.D. student at Tufts

University and Fulbright scholar.6

            The administration has also revoked the visas or statuses of and initiated removal proceed-

ings against many non-citizens based on their purported roles in on-campus political advocacy,

including Yunseo Chung, a US permanent resident and junior at Columbia University, and Ranjani

Srinivasan, an Indian citizen and Fulbright recipient attending Columbia’s Graduate School of

Architecture, Planning and Preservation.7



3
    Compl. ¶¶ 25-29.
4
 Karina Tsui, What We Know About the Federal Detention of Activists, Students and Scholars
Connected to Universities, CNN (Apr. 2, 2025), https://tinyurl.com/359wbssz.
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7
    Tsui, supra note 4.
                                                     4
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       In some cases, there is no clear link between the targeted non-citizen’s political activity

and their visa revocation. For example, University of Alabama mechanical engineering graduate

student Alireza Doroudi was arrested and detained by ICE agents on March 25, 2025, although

there is “no evidence” that he was involved in pro-Palestinian advocacy on campus.8 As of April

8, 2025, the administration has revoked the status of over 500 non-citizens, including many inter-

national students, in some cases based on alleged participation in campus activism or social media

activity deemed contrary to administration policies.9 The Secretary of State said of these revoca-

tions: “If [non-citizens are] taking activities that are counter … to our national interest, to our

foreign policy, we’ll revoke the visa,”10 without explaining what actions the administration be-

lieves are contrary to the nation’s interests or its foreign policy. According to media reports, the

administration uses artificial intelligence to identify possible infractions, including by scraping the

social media accounts of non-citizens.11

       The administration has cancelled the visas of many foreign students without notifying the

colleges or universities that they attend.12 Administrators at Minnesota State University, for exam-

ple, learned that the visas of five students had been revoked only after running a status check in a




8
  Patrick Darrington, Video Captures ICE Agents Detaining Alireza Doroudi, Iranian Born
Alabama Doctoral Student, AL.com (Apr. 4, 2025), https://tinyurl.com/3vmwuepu.
9
   Andrew Jack, US revokes more than 500 foreign student visas, FT (Apr. 8, 2025)
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  Press Release, U.S. Department of State, Secretary of State Marco Rubio Remarks to the Press
(Mar. 28, 2025), https://tinyurl.com/3hkz2cum.
11
  Marc Caputo, State Dept. to Use AI To Revoke Visas of Foreign Students Who Appear ‘Pro-
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  Collin Binkley et al., Federal Officials are Quietly Terminating the Legal Residency of Some
International College Students, Associated Press (Apr. 4, 2025), https://tinyurl.com/3wbhda83.
                                                  5
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database of international students.13 The Alliance has received reports that the government has

revoked hundreds more visas without providing any basis for its decision.14

           The administration is also terminating the SEVIS student record of the students whose

visas it revokes—a change from prior practice, under which students with revoked entry visas

retain their status and could remain in the country as long as they were enrolled in courses.15 By

terminating the students’ SEVIS record, the administration appears to be paving the way to arrest

and deport them.16

           The administration is also threatening higher education institutions’ ability to enroll any

foreign students. Under SEVP, certified post-secondary institutions may issue eligibility certifi-

cates to prospective international students (which the students may use to apply for student visas)

and enroll them after they enter the country.17 In the past, the government has decertified institu-

tions that it determined were issuing too many certificates as a ruse to enable students to live and

work in the United States.18 The administration now threatens to decertify schools that it deter-

mines have “too many bad apples in one place,” including those whom the administration deems




13
     Id.
14
  See also Vimal Patel, Nearly 150 Students Have Had Visas Revoked and Could Face
Deportation, NY Times (Apr. 7, 2025), https://tinyurl.com/6vcjrv62
15
   See Liam Knox, Smashing the Student Visa System, Inside Higher Ed (Apr. 3, 2025),
https://tinyurl.com/pcjy94bt; Juliet Schulman-Hall, Trump Administration Revokes Visas of 5
UMass Amherst Students, MassLive (Apr. 5, 2025), https://tinyurl.com/34tcanws; Jaweed Kaleem,
Trump Administration Cancels Dozens of International Student Visas at University of California,
Stanford, Los Angeles Times (Apr. 5, 2025), https://tinyurl.com/43xjf23z.
16
     Id.
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    Getting Started with SEVP Certification, U.S. Department of Homeland Security,
https://tinyurl.com/2p9uru88.
18
     Caputo, supra note 10.
                                                    6
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as holding pro-Hamas views.19 “I don’t think we’re at that point yet,” said a U.S. official, “[b]ut it

is not an empty threat.”20 If the administration revokes a school’s SEVP certification, that school

will no longer be able to admit any foreign students.21

           B.     The Administration’s Actions Sow Fear and Uncertainty Across Post-
                  Secondary Institutions

           The administration’s actions have created a climate of fear among non-citizen students on

campuses across the country. Several non-citizen students targeted by the administration, fearing

reprisals if they challenged their visa revocations, have opted to leave the United States instead.

Rajani Srinivasan, an Indian graduate student at Columbia, left the country after the administration

revoked her visa and ICE agents appeared at her door without a warrant. “The atmosphere seemed

so volatile and dangerous,” she said, “[s]o I just made a quick decision.”22

           Non-citizen students wonder whom the administration will target next. A British student

at Harvard University said: “There is a concern amongst international students—and there were

many international students who did participate in pro Palestinian activities on campus—that they

could be targeted by the Trump administration and made an example of through deportation, and

that Harvard will not have the power to stop that.” She continued: “As an international student,




19
     Id.
20
     Id.
21
     Id.
22
  Luis Ferré-Sadurni & Hamid Aleaziz, How a Columbia Student Fled to Canada After ICE Came
Looking for Her, N.Y. Times (Mar. 15, 2025), https://tinyurl.com/5n83bn4z; see also Tsui, supra
note 4 (listing other non-citizen students who have left the United States).
                                                   7
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you can imagine that’s very scary to know that at any point in time, your future outlook and what

you had imagined for yourself can go away overnight.” 23

           Non-citizens at Columbia University said that “they feel they must be careful who they

speak to and censor what they say. They fear being questioned by [ICE] agents, having their visas

revoked or being arrested and detained. Some feel like they are being watched while walking

around Morningside Heights and on campus[.]”24 An Indian student said: “What scares me the

most is that I would be fast asleep at home and I would hear a bang on my door and I’d be taken

away in the middle of the night by [ICE] and nobody will ever know what happened to me. … It

feels as if people are getting targeted for just speaking up for their political views last year.”25

A Russian master’s student likened the atmosphere on campus to that in Russia when police were

“knocking on doors to draft male citizens at the start of the Russia-Ukraine war. … ‘[I]t feels like

“the police state is coming after you.’”26

           This fear is pervasive. “There is a palpable sense of fear among international students on

campus,” said the director of Columbia University Law School’s Immigrants’ Rights Clinic, which

has been “inundated with requests for legal consultation.” She continued: “They are worried about

what may happen to their student visas. They are concerned that they may not be able to complete

their degree programs if they are targeted. They’re wondering how they can make changes to their




23
   Samuel A. Church & Cam N. Srivastava, As Trump Floats New Travel Restrictions,
International Students Look for Guidance from Harvard, The Harvard Crimson (Mar. 13, 2025),
https://tinyurl.com/nhhxzhve/.
24
  Jazzmin Jiwa, ‘I could be next’: International Students at Columbia University Feel ‘Targeted’
After Mahmoud Khalil’s Arrest, The Guardian (Mar. 19, 2025), https://tinyurl.com/2t82svy4.
25
     Id.
26
     Id.
                                                   8
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daily life to reduce the risk.” 27 After two Saudi Arabian students at North Carolina State University

who were both “in good standing” on campus decided to leave the country following the admin-

istration’s revocation of their visas, the school’s chancellor stated: “the university’s international

students are ‘very concerned’ about the revocations of visas taking place around the country.”28

After a student at Temple University also opted to leave the country after their visa was revoked,

Temple’s president similarly said: “News like this is distressing and frightening, especially for

international members of our community.”29 Following Öztürk’s arrest, Tufts University said:

“In the worst cases, many [foreign students] report being fearful of leaving their homes, even to

attend and teach classes on campus.”30

          Non-citizens fear being targeted for expressing any views contrary to those of the admin-

istration. A South Asian graduate student at the University of Rochester said: “it feels too risky to

speak about LGBTQ+ causes … or even be seen near a political demonstration.”31 A chemistry

professor living in Canada recently turned down an invitation to attend a conference in the United

States, fearing “that because of her vocal support of diversity, equity, and inclusion (DEI) initia-

tives—a target of the Trump administration—she will be hassled by border guards.”32 One



27
  Liam Knox, ‘Palpable Fear’ Hangs Over International Students, Inside Higher Ed (Mar. 18,
2025), https://tinyurl.com/y85jh578.
28
  Korie Dean, NC State Students Who Lost Visas were in ‘Good Standing’ with University,
Chancellor Says, The News & Observer (Apr. 3, 2025, 1:11 PM), https://tinyurl.com/pdn6rcnx.
29
  Susan Snyder, Temple Student Whose Visa was Revoked has Self-deported, University Says,
Philadelphia Inquirer (Apr. 2, 2025), https://tinyurl.com/4vabmnzy.
30
     Tufts University, supra note 2.
31
  Carolyn Thompson, International Students Weigh New Risks of Pursuing Higher Education in
the US Under Trump, Associated Press (Mar. 25, 2025, 12:14 AM), https://tinyurl.com/4u266tn6.
32
  Katie Langin, International Scientists Rethink U.S. Conference Attendance, Science (Mar. 31,
2025), https://tinyurl.com/3b58ybd2.
                                                  9
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Alliance member institution reports that visa-holders fear majoring in certain subjects, taking spe-

cific classes, and facing backlash from prior art exhibits. Even student newspapers are anonymiz-

ing non-citizen sources and journalists who risk immigration consequences, in some cases pausing

publication or deleting existing articles.33 As one editor of a campus outlet said: “For students who

disagree with the Trump administration’s stance, they fear real retaliation.”34

II.        THIS CLIMATE OF FEAR WILL REPEL NON-CITIZENS FROM ATTENDING
           U.S. COLLEGES AND UNIVERSITIES, THREATENING U.S. INTERESTS

           The policy threatens to significantly reduce the number of foreign students and other non-

citizens seeking to attend U.S. post-secondary institutions. The executive director of the Associa-

tion of International Enrollment Management (“AIRC”), an organization focused on recruiting and

enrolling international students, said: “It has a chilling effect[.] … [A]ll of this cumulatively pro-

duces an impression that the U.S. is not welcoming, it’s not open or that you may be in some kind

of danger or jeopardy if you do come to the U.S.”35 AIRC reports a consensus among recruiting

agencies in India, the largest source of foreign students coming to the United States, that “far

fewer of that country’s students are interested in American colleges than in recent years.”36

           Available data show that foreign student interest in attending American schools has plum-

meted since the policy went into effect. StudyPortals, an online portal used by 55 million prospec-

tive international students from 240 countries to learn about and apply to international programs,

reports that the demand for international graduate students to study in the United States “has




33
  Anvee Bhutani, US Student Journalists Go Dark Fearing Trump Crusade Against Pro-
Palestinian Speech, The Guardian (Apr. 7, 2025), https://tinyurl.com/mtzvpa2w.
34
     Id.
35
     Thompson, supra note 31.
36
     Id.
                                                  10
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dropped a dramatic 42% since the beginning of the year.”37 A March 2025 survey performed by

an international student placement organization similarly found that more than one in four inter-

national students say that they “[have] soured on studying in the U.S.”38

       The decline in non-citizen enrollment at American colleges and universities caused by the

policy will harm the United States in multiple ways.

       A.      The Policy Will Harm U.S. Students

       The policy threatens to deny American students the many benefits of interactions with non-

citizens. A comprehensive report by the Association of International Educators (“NAFSA”) ex-

plained that college life provides many American students with their “first close and extensive

contacts with foreigners,” helping to prepare them for such interactions over the course of their

lives.39 Exposing domestic students to international students on American campuses is especially

critical because few domestic students study abroad; in the academic year 2022-2023, less than

2% of domestic students did so.40 The NAFSA report also found “ample evidence” that “[i]nter-

national student enrollments and international teaching assistants enable universities to offer




37
  Nathan M. Greenfield, Interest in studying in US dropped 42% in January, Univ. World News
(Mar. 18, 2025), https://tinyurl.com/ycxz5pcm.
38
  Liam Knox, Colleges Fear Decline in International Student Enrollment, Inside Higher Ed. (Mar.
19, 2025), https://tinyurl.com/45c5y76m.
39
  In America’s Interest: Welcoming International Students: Report of the Strategic Task Force on
International Student Access 6, NAFSA (Jan. 2003), https://tinyurl.com/mr2ak99k.
40
   U.S. Study Abroad, Open Doors (2024), https://opendoorsdata.org/annual-release/u-s-study-
abroad/ (In 2022-2023, 280,716 American students studied abroad); Fast Facts 2024 1, Open
Doors (2024), https://tinyurl.com/39yhec6t (In 2022-2023, there were 17,904,092 domestic
students and 1,057,188 international students for a total of 18,961,280 students at American
institutions).
                                                11
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classes to American students that would not otherwise be available.”41 It stated: “[G]raduate edu-

cation as we know it could not function without international students.”42

           Studies confirm these benefits. A 2013 study, for example, concluded that interaction be-

tween American and international students “was consistently and positively correlated with col-

lege outcomes and that U.S. students who interacted extensively with international students re-

ported higher levels of engagement in college activities, such as coursework outside the major,

contact with faculty outside class, ethnic or cultural clubs or organizations, and visiting speak-

ers.”43 A 2020 study concluded that “foreign students increase the performance of host universities

with respect to the graduation numbers of all and native students.”44

           American students recognize and want these benefits. As the President of an Alliance mem-

ber institution reports, the institution’s 2023 prospective student survey indicated that the oppor-

tunity to learn from faculty with a global perspective, and to learn on a campus with students from

around the world were the most important and compelling aspects of the college experience.

           By causing a decline in non-citizen enrollments, the policy threatens to deprive American

students of these benefits and the opportunity to pursue certain fields. A 2021 National Foundation




41
     In America’s Interest, supra note 39.
42
     Id.
43
   Jiali Luo & David Jamieson-Drake, Examining the Educational Benefits of Interacting with
International Students, 3 J. Int’l Stud. 85, 87 (2013), https://tinyurl.com/yvm6p7cp (compiling
studies on the benefits international students provide to domestic students).
44
   Melaku Abegaz et. al., Does The Presence of International Students Improve Domestic
Graduations in the US? 75 The Quarterly Rev. Econ. & Fin 95, 98 (Feb. 2020),
https://tinyurl.com/4r3cjp5h.
                                                  12
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for American Policy study concluded that “it would be difficult to maintain important graduate

programs without international students,” including in engineering and computer science.45

          Reducing these interactions will not only harm individual students—it will harm the nation.

As a review of the strategic benefits of international student access found: “The ties formed at

school between future American and future foreign leaders have facilitated innumerable foreign

policy relationships. The millions of people who have studied in the United States over the years

constitute a remarkable reservoir of goodwill for our country, perhaps our most undervalued for-

eign policy asset.”46 As former Secretary of Defense Robert Gates recognized, the cross-cultural

understanding gained through these interactions is critical to national security:

                 We cannot begin to understand other countries and deal with secu-
                 rity challenges around the world if we don’t have leaders—not just
                 in government but in other sectors as well—who understand those
                 cultures and the history and something about those nations’ inter-
                 ests. And the best way that people can get a foundation for that is by
                 having both direct experience and studying it in school. … [W]e
                 have had enormous success over the years with students coming to
                 this country, including as adults to professional schools and profes-
                 sional military schools and learning about us.47

          B.     The Policy Is Harming and Will Harm U.S. Colleges and Universities

          The policy is hampering the ability of American colleges and universities to carry out their

educational missions. Regardless of their individual views on campus political activity, Alliance

members are firmly committed to the constitutionally-protected rights of freedom of speech and

assembly for citizens and non-citizens. These freedoms are not only central tenets of American




45
  International Students in Science and Engineering 1, National Foundation for American Policy
(Aug. 2021), https://tinyurl.com/4ar264r5.
46
     In America’s Interest, supra note 39 at 5.
47
    An Interview with Former Secretary of Defense Robert M. Gates, NAFSA (2012),
https://tinyurl.com/3pftd4af.
                                                  13
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democracy; they are necessary to create the free academic inquiry at the core of teaching and

research at American colleges and universities. By restricting these freedoms, the policy strikes at

the heart of American higher education.

           The policy is also harming post-secondary institutions by effectively restricting non-citi-

zens’ freedom of movement. As Tufts University said: “The free movement of our international

community members is … essential to the functioning of the University and serving our mission.

The University has heard from students, faculty and staff who are forgoing opportunities to speak

at international conferences and avoiding or postponing international travel.”48 Some institutions,

including the University of California Berkeley49 and Brown University50 have felt compelled to

caution international students against international or even domestic travel.

           By revoking students’ visas and terminating their SEVIS records without informing their

schools, the administration is also preventing colleges and universities from properly advising their

non-citizen students on how to comply with federal law and from ensuring their own compliance.

University officials said that the “[administration’s] tactics are severely limiting universities’ op-

tions to help students who may be targeted by ICE.”51 “Many [university officials] fretted over

how to advise affected students without running afoul of immigration authorities themselves.”52

One said: “We’re in a strange new world where little from past practice seems to apply.”53



48
     Tufts University, supra note 2.
49
     Langin, supra note 32.
50
  Lexi Lonas Cochran, Brown University Tells International Community to Avoid Foreign Travel,
The Hill (Mar. 17, 2025, 3:06 PM), https://tinyurl.com/3bpu23xc.
51
     Knox, supra note 15.
52
     Id.
53
     Id.
                                                   14
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       In the longer term, declining international student enrollment caused by the policy will

financially harm American colleges and universities—a lot. International students are a significant

and dependable source of tuition payments: approximately 80% pay full tuition,54 and they must

demonstrate that they can fund their tuition at the start of each academic year.55 In total, they pay

tens of billions of dollars in tuition to American universities and colleges every year.56 As outlined

in Appendix 1, for example, estimated tuition revenues from international students at just the

twenty top-ranked universities with the largest international enrollments would be over $7.3 billion

a year—even if the 20% of international students who do not pay full tuition paid nothing.

       Higher tuition payments by international students also help boost American student enroll-

ments: A 2017 study found that adding ten international students led to roughly eight additional

domestic enrollments.57 Lower revenues from international students will limit a school’s resources


54
  Omar Duwaji, High fees paid by international students help US universities balance their books,
The World (Mar. 28, 2024), https://tinyurl.com/4w62ecya.
55
 Niall Hegarty, Where We Are Now: The Presence and Importance of International Students to
Universities in the U.S., 4 J. Int’l Students 223, 227 (2014), https://tinyurl.com/4vfwa5cy.
56
   Annual tuition paid by international students to post-secondary institutions is estimated to be
between $29.8 and $34.1 billion, assuming that 68% of an international student’s economic
contribution comes from tuition paid to American post-secondary institutions, see Rajika Bhandari
& Patricia Chow, Report on International Education Exchange 17, Open Doors (2008),
https://tinyurl.com/kz3pw6sm, and using NAFSA and Department of Commerce estimates of
international students’ economic contributions. International Students Contribute Record-
breaking Level of Spending and 378,000 Jobs to the U.S. Economy, NAFSA (Nov. 18, 2024),
https://tinyurl.com/puskrnbs (“international students at U.S. colleges and universities contributed
$43.8 billion to the U.S. economy during the 2023-2024 academic year); Press Release, U.S.
Department of State, Department of State Reports Record High Number of International Students
in the United States at Start of International Education Week (Nov. 18, 2024),
https://tinyurl.com/bdpsdhhh/ (international students’ economic contribution was “more than $50
billion in 2023).See also John Bound et. al, The Globalization of Postsecondary Education: The
Role of International Students in the US Higher Education System, 35 J. Econ. Persps. 163, 176
(2021), https://tinyurl.com/9j5bzs4x.
57
  Kevin Shih, Do International Students Crowd-Out or Cross-Subsidize Americans in Higher
Education?, 156 J. Pub. Econ. 170, 172 (Dec. 2017), https://tinyurl.com/4f723kdr.
                                                 15
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to offer financial aid to domestic students.58 If international student enrollments decline, the tuition

lost by American colleges and universities will not be offset by increased domestic enrollment;

beginning in 2025, the number of American undergraduates is forecasted to fall due to declining

domestic birth rates.59

          C.     The Policy Will Harm the U.S. Economy

          By reducing the number of international students in the United States, the policy will harm

the American economy. International students do not just contribute to the economy by paying

tuition; they increase domestic demand for goods and services, which creates and supports domes-

tic jobs—for every three international students, one U.S. job is created or supported.60 Over 1.1

million international students enrolled in American colleges and universities in 2023 contributed

more than $50 billion to the U.S. economy,61 and supported over 378,000 jobs during the 2023-

2024 academic year.62 As fewer international students come to the United States, these economic

benefits will begin to disappear.

          While the full economic impact of the policy cannot yet be quantified, one study provides

a helpful benchmark. In January 2024, the Alliance co-published a study on the effects of ending

the Optional Practical Training (“OPT”) Program, which allows temporary employment related to

international students’ area of study. The study concluded that if the 43% of international students

who use OPT decided not to study in the United States because the program ended, it could cost



58
     Id. at 176; see also Duwaji, supra note 54.
59
 Emma Dorn et. al, Higher Education Enrollment: Inevitable Decline or Online Opportunity?,
McKinsey & Co. (Nov. 2020), https://tinyurl.com/3d9kfsxn.
60
     International Students Contribute Record-breaking Level of Spending, supra note 56.
61
     U.S. Department of State, supra note 57.
62
     International Students Contribute Record-breaking Level of Spending, supra note 56.
                                                   16
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the country $17.2 billion annually.63 This indicates that even smaller drops in international enroll-

ment caused by the policy could cost the United States billions of dollars per year.

       The United States will not just lose the economic benefits that non-citizens would have

provided as students—it will lose the benefits that they would have continued to provide as grad-

uates. To take one example, over 70% of international Ph.D. students in STEM fields remain in

the United States after graduation and enter the American workforce.64 The average foreign-born

STEM professional generates a net benefit to the American economy of $3 million over 20 years,65

and foreign-born American STEM talent collectively accounted for 1.7 percent of U.S. Gross Do-

mestic Product in 2019—over $367 billion.66 As fewer non-citizens come to the United States as

students, fewer will enter the workforce after graduation, and the American economy will lose out

on this economic activity.

       D.      The Policy Will Harm U.S. Innovation

       Reducing non-citizen enrollments will also degrade American research and innovation.

A July 2022 study found that immigrants started the majority of American start-up companies




63
  Dominic Berardi et. al., Data Snapshot: The Essential Role of Practical Training in U.S. Higher
Education and the Innovation Economy 11, Shorelight (2024), https://tinyurl.com/yktd3r43 (last
accessed Apr. 8, 2025).
64
   Sandip K. Sureka & James C. Witte, Immigrant Nobel Laureates: U.S. Higher Education
Infrastructure in a Global Context 2, Inst. for Immigr. Rsch. (Dec. 2024),
https://tinyurl.com/y35rnbff.
65
  The Return on Investment of TMF’s U.S. STEM Track, Talent Mobility Fund (Jan. 2025),
https://tinyurl.com/2vv9wsub
66
  Keith W. Crane et. al., Economic Benefits and Losses from Foreign STEM Talent in the United
States iv, Inst. for Defense Analyses (Oct. 2021), https://tinyurl.com/m2fyaha8.
                                                 17
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valued at $1 billion or more.67 Many of these immigrants started out as international students at

American colleges and universities: As one study put it, “[t]he majority came to the United States

to study and decided to stay.”68 The July 2022 study lists 147 such former non-citizen students

who graduated from 75 American colleges and universities and went on to found billion-dollar

American companies with an estimated value of over $586 billion and 80,000 employees.69 A list

of these entrepreneurs, the colleges they attended, the companies they founded, and the value of

those companies is attached as Appendix 2. As non-citizen enrollments decline so too will the

number of founders of the next generation of innovative American start-ups.

           American technology companies also seek to hire non-citizens who attend American uni-

versities and colleges because they cannot find enough domestic STEM talent.70 As the Executive

Director of Global Detroit said: “When international students help a U.S. employer satisfy hard-

to-fill STEM jobs, they allow those employers to better serve existing customers, expand their

operations, and grow the business in ways that enable the employer to hire additional workers.”71

American companies also seek to hire non-citizens because, as one CEO put it, they have “a high

motivation and their willingness to work hard overcomes all their obstacles. Success is not an




67
  Stuart Anderson, Immigrant Entrepreneurs and U.S. Billion Dollar Companies 1-3, Nat’l Found.
for Am. Pol’y (Jul. 26, 2022), https://tinyurl.com/3ae3k4yu (noting that only 14% of America’s
billion-dollar companies, as of May 2022, had a majority of native-born founders).
68
   Vivek Wadhwa et al., Education and Tech Entrepreneurship 2, Kauffman (May 2008),
https://tinyurl.com/6kv468m2.
69
     Anderson, supra note 67 at Table 9.
70
    International Students Are U.S. Business’ Best Hope For Growth, Global Network,
https://tinyurl.com/u2ywvm8m/.
71
     Id.
                                                18
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option for them. It’s a mandated requirement.”72 As fewer non-citizens enroll in American colleges

and universities, high-tech American businesses will have fewer such workers to hire.

           E.     The Policy Will Exacerbate a “Brain Drain” from U.S. Schools to Foreign
                  Schools

           By repelling non-citizens from enrolling and teaching at American schools, finally, the

policy will lead to more of the brightest foreign students attending foreign schools instead of Amer-

ican ones—handing other countries a competitive advantage. For decades, the United States, home

to more top-rated colleges and universities than any other country,73 attracted far many more for-

eign students to its colleges and universities than it sent American students to foreign schools.74

Recently, however, America has lost ground to other countries, especially Australia, Canada, and

the United Kingdom—while nearly 60% of all inbound international students studied in the United

States in 2000, only about 40% studied here in 2022.75

           The policy will worsen this trend: As non-citizens are deterred from attending American

colleges and universities, other countries are taking advantage. China is aggressively recruiting

Chinese undergraduates to enroll in its domestic universities instead of going abroad, and recently

changed its doctoral matriculation requirements to welcome “PhD refugees from the U.S” to its

top universities.76 France is explicitly targeting American scientists: Aix Marseille University



72
     Id.
73
     World University Rankings 2025, Times Higher Educ. (2025), https://tinyurl.com/2sfftsj8.
74
  Compare        International   Students,   1948/49-2023/24,    Open     Doors     Data,
https://tinyurl.com/5by2mjv7/, with U.S. Students Studying Abroad, 1989/90-2022/23, Open
Doors Data, https://tinyurl.com/mpevzavf/.
75
     Berardi, supra note 63.
76
  Dannie Peng, America’s Loss, China’s Gain: Top Chinese Universities Welcome PhD Refugees
from the US, S. China Morning Post (Feb. 23, 2025), https://tinyurl.com/5fvfkhka. This will further

                                                 19
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rolled out a “Safe Place for Science” program and is receiving a dozen applications a day for

15 openings from American students seeking “scientific asylum”;77 its cancer research foundations

are similarly welcoming American researchers to their research programs.78 In Canada, the prov-

ince of Quebec announced that it “was actively looking to recruit scientific talent from the U.S.

who are wary of … ‘the climate-skeptic directions that the White House is taking.’”79 Policymak-

ers and commentators are calling for Europe80 and Australia81 to do likewise. Several U.S.-based

academics have already left the United States for other countries in direct response to the admin-

istration’s actions,82 including a star faculty member and highly-rated teacher at an Alliance mem-

ber institution with Lawful Permanent Residency status. This trend will only get worse the longer

that the policy remains in effect.

                                            CONCLUSION

           The Alliance urges the Court to grant Plaintiffs’ motion for a preliminary injunction.

                                                               [signature block on next page]




America’s decline as a global leader. According to the Global Diplomacy Index, China is already
ahead of the U.S. in terms of expanding its diplomatic influence across the world. Ryan Neelam,
Global Diplomacy Index, Lowy Inst. (2024), https://tinyurl.com/4m865nu7.
77
 Catherine Porter, As Trump’s Policies Worry Scientists, France and Others Put Out a Welcome
Mat, N.Y. Times (Mar. 26, 2025), https://tinyurl.com/ycyths83
78
     Id.
79
  Alexandra Mae Jones, A U.S. Brain Drain Could be Canada's Brain Gain, CBC (Mar. 30, 2025),
https://tinyurl.com/5xbrd96x.
80
  Aitor Hernandez-Morales et al., Europe to burned American scientists: We’ll take you in,
Politico (Apr. 4, 2025), https://tinyurl.com/bde2zkar.
81
 Danielle Cave, As Trump Sacks Scientists, Australia Should Hire Them. US Drain is Our Brain
Gain, Australian Strategic Pol’y Inst. (Mar. 7, 2025), https://tinyurl.com/hnz349ny.
82
  Andrew Jack, American Academics Seek Exile as Trump Attacks Universities, FT (Mar. 31,
2025), https://tinyurl.com/5xdmhwjj.
                                                   20
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Dated:   April 9, 2025                 Respectfully submitted,


                                      /s/ Lauren Godles Milgroom
                                      Lauren Godles Milgroom (BBO No. 698743)
                                      Joel Fleming (BBO No. 685285)
                                      EQUITY LITIGATION GROUP PLLC
                                      1 Washington Mall #1307
                                      Boston, MA 02108
                                      Tel: 617-468-8602
                                      lmilgroom@equitylitigation.com
                                      jfleming@equitylitigation.com

                                      Andrew R. Dunlap*
                                      Zachary Smith*
                                      Kayla Chen*
                                      SELENDY GAY PLLC
                                      1290 Avenue of the Americas
                                      New York, NY 10104
                                      Tel: 212-390-9000
                                      adunlap@selendygay.com
                                      zsmith@selendygay.com
                                      kchen@selendygay.com

                                      *pro hac vice forthcoming

                                      Attorneys for [Proposed] Amicus Curiae the
                                      Presidents’ Alliance on Higher Education and
                                      Immigration
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                                              APPENDIX 1:
                       International Student Tuition Revenues at Top US Colleges83

                                                                                                                   Estimated
                                       %                                           Graduate
                                                Undergraduate       Annual                        Annual             Tuition
                       Total       Interna-                                         Interna-
      Institution                                International   Undergraduate                   Graduate            Paid by
                     Enrollmenti     tional                                          tional
                                                   Studentsiii      Tuition                       Tuition         International
                                   Studentsii                                      Studentsiv
                                                                                                                    Studentsv
      Columbia         37,954        40%            6319           $71,170vi         8863        $70,628vii       $860,536,538
      University
      New York         64,951        33%            8921           $62,796viii       12513       $56,646ix       $1,015,202,162
      University
                       12,829        31%            1655            $61,990x         2322        $61,990xi        $197,226,888
         MIT
     University of     21,578        31%            2784           $67,446xii        3905        $67,200xiii      $360,158,208
        Chicago
      California
                        2,518        30%             314           $65,622xiv         441        $65,706xv        $39,686,323
      Institute of
      Technology
        Georgia
                       53,737        29%            6486           $32,938xvi        9098       $31,180xvii       $397,842,282
      Institute of
      Technology
     Washington
                       18,292        27%            2056           $64,500xviii      2883        $64,500xix       $254,844,144
     University in
        St Louis
           Rice         9,185        27%            1032           $62,874xx         1448        $59,784xxi       $121,160,519
      University
     University of
                       52,694        27%            5921           $69,904xxii       8306       $69,904.xxiii     $795,640,617
       Southern
      California
       Stanford        20,955        26%            2268          $65,127 xxiv       3181       $61,095xxv        $273,605,330
      University
       Harvard         37,613        26%            4070           $56,550xxvi       5709       $55,656xxvii      $438,335,892
      University
          Johns
                       39,399        26%            4263          $64,730xxviii      5980       $71,203xxix       $561,430,477
       Hopkins
      University
        Cornell        26,510        25%            2758           $68,380xxx        3869       $20,800xxxi       $215,274,674
      University
           Yale        16,416        24%            1640          $67,250xxxii       2300       $49,500xxxiii     $179,301,977
      University
          Duke         20,664        24%            2064          $66,326xxxiv       2895       $65,120xxxv       $260,354,223
      University
     University of     32,205        23%            3083          $60,920xxxvi       4324       $41,584xxxvii     $294,102,607
     Pennsylvania
       Princeton        8,946        23%             856          $62,400xxxviii     1201       $65,910xxxix      $106,087,437
      University
     University of
         Illinois      62,417        22%            5715           $40,712xl         8017        $30,356xli       $380,820,827
       Urbana-
      Champaign
         Brown         11,766        21%            1028           $68,612xlii       1443       $68,608xliii      $135,619,901
      University
                       44,050        20%            3667           $77,886xliv       5143        $68,427xlv       $510,019,958
 UC-San Diego
        Total         594,679                       66,900                          93,842                      $7,397,250,985.80




83
  Based on the twenty institutions on the Forbes Top 50 Colleges list with the highest proportion
of international students. Emma Whitford, Suddenly Colleges With Big Foreign Student
Populations Face Existential Risk, Forbes (Apr. 3, 2025), https://tinyurl.com/2z9t54yf/.
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i
  Whitford, supra note 83.
ii
    Id.
iii
     Assuming 42% of international students are undergraduates. 2024 Fast Facts at 1, Open Doors (2024),
https://tinyurl.com/nhhsd3t9 (proportion of international students who are undergraduates was 43% in 2022-2023
academic year and 41% in 2023-2024 academic year).
iv
    Assuming 58% of international students are graduate students. Id. (proportion of international students who are
graduates was 57% during 2022-2023 academic year and 59% during 2023-2024 academic year). Because graduate
tuition varies by program length and credit requirements, the tuition figure that applies to the broadest range of
graduate degrees—the Graduate School of Arts and Sciences or its equivalent—is used as a proxy for graduate
school tuition across programs.
v
    Assuming 80% of international students pay full tuition. See Duwaji, supra note 54; Open Doors supra note iii. For
the purposes of the above table, it is assumed the remaining 20% of international students pay no tuition. When an
institution does not list a tuition rate for international students, it is assumed they pay the out-of-state rate (for
schools that offer in-state and out-of-state tuition) or baseline tuition (for schools that do not distinguish between in-
state and out-of-state students). Where applicable, reduced tuition rates for continuing students are not taken into
account. Calculations reflect tuition costs only and exclude additional fees such as housing, meals, health insurance,
student activities, and graduate services.
vi
    Cost & Aid, Columbia Undergraduate Admissions, https://tinyurl.com/3sueks8m.
vii
     2024-2025 Academic Year Cost of Attendance, Columbia University Graduate School of Arts and Sciences,
https://tinyurl.com/4fywwy5v.
viii
     Cost of Attendance, NYU, https://tinyurl.com/ym5k2b46.
ix
    Graduate Student Expenses, NYU, https://tinyurl.com/4pu6sjh8.
x
    Cost of attendance, MIT Student Financial Services, https://tinyurl.com/4v8w4ya2.
xi
    Graduate tuition, MIT, https://tinyurl.com/bdz48u3w.
xii
     Undergraduate Costs, The University of Chicago Financial Aid, https://tinyurl.com/mt597nsy.
xiii
     Tuition and Fees 2024-25 Social Sciences Division, UChicago Office of the Bursar, https://tinyurl.com/3rhmh9r5.
xiv
     2025-2026 Cost of Attendance, Caltech Financial Aid, https://tinyurl.com/mr7ysmv2.
xv
     Graduate Expenses, Caltech Catalog, https://tinyurl.com/59huj3br/.
xvi
     Office of Scholarships & Financial Aid, Georgia Tech, https://tinyurl.com/3ersfus3.
xvii
      Office of the Bursar, Georgia Tech, https://tinyurl.com/ycyy8ret.
xviii
      Cost of Attendance, WashU Financial Aid, https://tinyurl.com/yky37vk4.
xix
     Graduate Tuition, Washington University in St. Louis Arts & Sciences Office of Graduate Studies,
https://tinyurl.com/bdd7h2na.
xx
     Cost of Attendance, Rice University Office of Financial Aid, https://tinyurl.com/5bj22hsf.
xxi
     Tuition, Fees, and Expenses, Rice General Announcements, https://tinyurl.com/424cehmx.
xxii
      Cost of Attendance, USC Financial Aid, https://tinyurl.com/2s4t9xdd.
xxiii
      Cost of Attendance, USC Financial Aid, https://tinyurl.com/3mwdfvpb.
xxiv
      Estimate Your Undergraduate Charges, Stanford Student Services, https://tinyurl.com/4vzytpa4.
xxv
      2024-2025 Graduate and Professional Tuition Rates, Stanford Student Services, https://tinyurl.com/5y375cr4.
xxvi
      Tuition and Fees, Harvard Faculty of Arts and Sciences Registrar’s Office, https://tinyurl.com/mrxnhvsa
xxvii
       Cost of Attendance 2024-2025, Harvard Kenneth C. Griffin Graduate School of Arts and Sciences,
https://tinyurl.com/yxj426zb.
xxviii
        Cost & Tuition, Johns Hopkins University, https://tinyurl.com/4stzxsrf.
xxix
      Cost of Attendance, Johns Hopkins Krieger School of Arts and Sciences, https://tinyurl.com/57u49ka7.
xxx
      Cost to Attend, Cornell Financial Aid, https://tinyurl.com/37ffrrcu.
xxxi
      Tuition Rates by Field, Cornell University Graduate School, https://tinyurl.com/3ue7c2cb.
xxxii
       Financial Aid, Yale University, https://tinyurl.com/2mn9vasw.
xxxiii
        Tuition and Fees, Yale Graduate School of Arts and Sciences, https://tinyurl.com/47dbxk5p.
xxxiv
        Cost of Attendance, Duke Karsh Office of Undergraduate Financial Support, https://tinyurl.com/4uayrbwv.
xxxv
       Tuition, Fees, and Ph.D. Stipends, Duke The Graduate School, https://tinyurl.com/3z5vdydh
xxxvi
        Undergraduate Cost of Attendance, University of Pennsylvania Student Registration & Financial Services,
https://tinyurl.com/4vw228sj.
xxxvii
        Tuition and Fees, Penn LPS College of Liberal & Professional Studies, https://tinyurl.com/3h2e6rc8.



                                                            ii
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xxxviii
        Cost & Aid, Princeton University Undergraduate Admission, https://tinyurl.com/2ur39c4u.
xxxix
       Funding Calendar, University Rates & Costs, Princeton The Graduate School, https://tinyurl.com/mr2jaeu3.
xl
    Tuition, University of Illinois Urbana-Champaign, Undergraduate Admissions, https://tinyurl.com/bdhrv8bw.
xli
     2024-2025 Academic Year Graduate & Professional Tuition Rates, University of Illinois Urbana-Champaign
Office of the Registrar, https://tinyurl.com/54sxt83m.
xlii
      Cost of Attendance, Brown Undergraduate Financial Aid, https://tinyurl.com/46t4j57c.
xliii
      Cost of Attendance by Program, Brown Graduate Student Funding and Support, https://tinyurl.com/3tfs7wz7.
xliv
      Continuing Undergraduates Fall 2024 Cohort, UC San Diego, Financial Aid & Scholarships,
https://tinyurl.com/4crn5h6s.
xlv
      Graduate Students 2024-2025, UC San Diego, Financial Aid & Scholarships, https://tinyurl.com/yck6y7mx.




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                                      APPENDIX 2:
       International Students Who Became Founders of U.S. Billion-Dollar Companies84

                                                         Company
                                                                                        Value of
           Name               University/Degree          Founded/        Employees
                                                                                        Company
                                                         Cofounded
                          UC Berkeley, B.A., Public
      Wemimo Abbey                                          Esusu           91         $1.0 Billion
                              Policy, NYU, MPA
                            Univ. of Illinois Urbana
                                  Champaign,
       Harish Abbott                                       Deliverr         462        $2.1 Billion
                          M.S. Operations Research,
                          Stanford University, MBA
                          MIT, B.S. & M.S. Engineer-
        Godard Abel                                          G2             810        $1.10 Billion
                             ing, Stanford, MBA
                           MIT, Ph.D. Biochemical
       Noubar Afeyan                                      Indigo Ag        2,422       $3.5 Billion
                                      Eng.
     Milind R Agarwal        Michigan State, MBA          GupShup          1,200        $1.4 Billion
     Olugbenga Agboola            MIT, MBA               Flutterwave        465         $3.0 Billion
      Francesco Agosti      Duke, B.S. Comp. Sci.         Phantom            50        $1.20 Billion
                          UPENN M.S. Engineering,
         Ikkjin Ahn                 UC San                MOLOCO           300+        $1.5 Billion
                           Diego, Ph.D. Comp. Sci.
                           Univ. of Memphis, M.S.
      Sri Satish Ambati                                    H2O.ai           347        $1.7 Billion
                              Math & Comp. Sci.
                          Rice, Ph.D. & M.S. Comp.
        Mohit Aron                                         Cohesity        1,900       $3.7 Billion
                                      Sci.
                          UC Berkeley, Ph.D. Comp.
       Krste Asanovic                                       SiFive          455        $2.5 Billion
                                      Sci.
                          Harvard, M.S. Comp. Sci.,
       Karim Atiyeh                                     Ramp Financial      238        $3.9 Billion
                           B.S. Elec. & Comp. Eng.
                            Univ. of Georgia, Mng.
       Tope Awotona                                        Calendly        400+        $3.0 Billion
                                 Info. Systems
                            MIT, M.S. Mechanical
      Ignacio Bachiller                                   Fever Labs        935        $1.0 Billion
                                  Engineering
        Aravind Bala      Ohio State, M.S. Comp. Sci       SeekOut          158        $1.2 Billion
                                                          Cambridge
                          UC Berkeley, Ph.D. Comp.
     Hari Balakrishnan                                     Mobile           401        $1.5 Billion
                                    Sci.
                                                          Telematics
                            Columbia Univ., B.S. &
      Nasser Barghouti                                     Seismic         1,500       $3.0 Billion
                               Ph.D. Comp. Sci.
                           Stony Brook Univ., Ph.D.
       Mikhail Bautin                                     YugaByte          327        $1.3 Billion
                                  Comp. Sci.
                             Temple Univ., MBA,
       Hari Bayireddy      Wharton School, Business     Phenom People      1,352       $1.4 Billion
                                    Strategy
                          Penn State, Bus. Planning &
                             Accounting, Wharton
      Mahe Bayireddi                                    Phenom People      1,352       $1.4 Billion
                                 School, Bus.
                                    Strategy




84
     Source: Anderson, supra note 67.
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                                                        Company
                                                                                       Value of
      Name              University/Degree               Founded/        Employees
                                                                                       Company
                                                        Cofounded
                        UC San Diego, B.S.
   Ali Behnam         Structural Eng., UCLA,              Tealium          704        $1.2 Billion
                               MBA
                      Stanford, M.S. Bus. and
 Jeroen Bekaert                                           Orca Bio         91         $1.0 Billion
                            Management
   Sanjay Beri       Stanford, M.S. Elec. Eng.            Netskope       1,500+       $7.5 Billion
                    Stanford, M.S. Comp. Sci.,
Anant Bhardwaj                                            Instabase        277        $1.05 Billion
                      MIT, Ph.D. Comp. Sci.
                        Univ. of Wisconsin-
 Pedro Bizarro        Madison, M.S. & Ph.D.               Feedzai          620        $1.0 Billion
                             Comp. Sci.
                     Caltech, Visiting Student,
   Alex Blania                                           Worldcoin         98         $1.0 Billion
                              Physics
Martin Blencowe     Univ. of Southern California           Cameo           336        $1.0 Billion
                    NC Wesleyan Univ., Univ.
                    Texas, Austin, B.A. Comp.
  Samir Bodas                                              Icertis        2,100        $5 Billion
                           Sci., UPENN
                          Wharton, MBA
                     MIT, M.S. Civil & Envir.
  Alex Bouaziz                                              Deel          1,000       $5.5 Billion
                                Eng.
Mili Bustamante           Stanford, MBA                     Jokr           200        $1.20 Billion
Cesar Carvalho            Harvard, MBA                    Gympass         1,400        $2.2 Billion
                      NYU, B.S. Bus. & Info.
Daniel Gershuni                                         OwnBackup          704        $3.35 Billion
                              Systems
  Viral Bajaria                 USC                        6Sense         1,250       $5.2 Billion
                       Pomona College, B.S.
  Adam Bowen         Physics, Stanford, MSME             JUUL Labs        1,474       $12 Billion
                          Product Design
Bruce Buchanan             UCLA, MBA                        Rokt           342        $1.95 Billion
                      Wharton School, Law &
 Felipe Capella       Business, UPENN Law                Loadsmart         569        $1.3 Billion
                       School, L.M.M. Law
 Michael Carvin     Princeton, B.A. Economics            SmartAsset        300        $1.0 Billion
                      Univ. of Texas El Paso,
                    M.S. Industrial Engineering,
Jaswinder Chadha                                           Axtria         2,463       $1.0 Billion
                        Texas A&M, Ph.D.,
                        Operations Research
                      Univ. of Texas El Paso,
Navdeep Chadha                                             Axtria         2,463       $1.0 Billion
                          M.S. Comp Sci.
                    Yale, Ph.D., Psychology &
Adam Chekroud                                           Spring Health      441        $2.0 Billion
                           Neuroscience
  Jiang Chen          Yale, Ph.D. Comp. Sci.            Moveworks          456         $2.1 Billion
  Ariel Cohen          Northwestern, EMBA               TripActions       2,200       $7.25 Billion
                      Univ. of Delaware, M.S.
   Shay Cohen       Biomechanics, Mechanical               Fabric          100        $1.0 Billion
                            Engineering
  John Collison               Harvard                      Stripe        7,000+       $95 Billion
 Patrick Collison               MIT                        Stripe        7,000+       $95 Billion
                       Stanford, Finance and
  Liron Damri                                              Forter          500        $3.0 Billion
                         Strategic Market.
                    Florida Atlantic Univ., M.S.
 Monish Darda                                              Icertis        2,100        $5 Billion
                            Mech. Eng.

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                                                            Company
                                                                                           Value of
       Name               University/Degree                 Founded/        Employees
                                                                                           Company
                                                            Cofounded
                        Princeton, B.S.E. Elec.
   Raj De Datta                                             Bloomreach         850        $2.2 Billion
                          Eng., Harvard, MBA
                       Amherst, B.A. Economics
 Nicolas Desmarais                                           AppDirect         661        $1.10 Billion
                               & Pol. Sci.
                       Carnegie Mellon, M.S. &
   Dave Ferguson                                               Nuro           1,300       $8.6 Billion
                             Ph.D. Robotics
     Rich Ford          Univ. of Chicago, MBA                Roofstock         670        $1.94 Billion
                        UC Santa Barbara, M.S.
   Luca Foschini                 Comp.                       Evidation         441        $1.0 Billion
                      Security, Ph.D. Comp. Sci.
                          Univ. of Wisconsin-
    Venky Ganti                                               Alation          650        $1.2 Billion
                      Madison, Ph.D. Comp. Sci.
                          Univ. of Ill., Urbana-
   Ashutosh Garg      Champaign, Ph.D. Elec. &              Eightfold.ai       475        $2.1 Billion
                          Comp. Engineering
                          Univ. of Ill., Urbana-
   Ashutosh Garg      Champaign, Ph.D. Elec. &              Bloomreach         850        $2.2 Billion
                          Comp. Engineering
                       Capitol Tech. Univ., B.S.
                               Elec. Eng.,
                          Catholic Univ., B.S.
  Kam Ghaffarian                                            Axiom Space        500        $1.0 Billion
                          Engineering, George
                        Washington, M.S. Info.
                                  Tech.
                      Carnegie Mellon, Exchange
   Elram Goren                                                 Fabric          100        $1.0 Billion
                                 Student
Chakri Gottemukkala    UCLA, M.S. Engineering               o9 Solutions      1,853       $2.7 Billion
    Ronghui Gu          Yale, Ph.D. Comp. Sci.                 CertiK          163        $2.0 Billion
                       Univ. of Illinois Urbana-
    Divey Gulati        Champaign, B.S. Comp.                 ShipBob         1,200       $1.0 Billion
                               Eng., MBA
                        Carnegie Mellon, Ph.D.
   Anoop Gupta                                                SeekOut          158        $1.20 Billion
                               Comp. Sci.
                          MIT, B.S. Electrical
     Robert Ha                                               Splashtop         326        $1.0 Billion
                               Engineering
                        Univ. of Texas, Austin,
  Guru Hariharan       M.S. Elec. & Comp. Eng.,            CommerceIQ          252        $1.0 Billion
                             Wharton, MBA
                       Univ. of New Hampshire,
   Kanav Hasija                                              Innovaccer       1,237       $3.2 Billion
                            M.A. Patent Law
   Francisco Hein        St. John's Univ., MBA               Fever Labs        935        $1.0 Billion
                      U.C.-Berkeley, Ph.D. Oper.
   David Hindawi                                              Tanium          2,200        $9 Billion
                                Research
                      Univ. of Texas, Austin, B.S.
   Amir Husain                                             SparkCognition      400        $1.4 Billion
                               Comp. Sci.
   Sami Inkinen              Stanford, MBA                  Virta Health       441         $2.0 Billion
    Rotem Iram               Harvard, MBA                     At-Bay           208        $1.35 Billion
  Roman Itskovich            Harvard, MBA                     At-Bay           208        $1.35 Billion
                      Univ. of Washington, M.S.,
    Arvind Jain                                               Rubrik          2,334        $4 Billion
                               Comp. Sci.
                       Univ. of Mass, Amherst,
  Graham Jenkin                                               CoinList         150        $1.5 Billion
                           Exchange Student

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                                                           Company
                                                                                         Value of
       Name                 University/Degree              Founded/       Employees
                                                                                         Company
                                                           Cofounded
                           Harvard Bus. School,
  Patricio Jutard       Stanford, Global Leadership         MURAL            925        $2.0 Billion
                                  Program
                         UC Berkeley, M.S. Comp.
  Varun Kacholia                                           Eightfold.ai      475        $2.1 Billion
                                    Sci.
Tilli Kalisky-Bannett           MIT, MBA                     At-Bay          208        $1.35 Billion
                           Stanford, B.S. & M.S.
   Filip Kaliszan                                            Verkada        1,000       $1.6 Billion
                                 Comp. Sci.
    Oren Kaniel            Wharton School, MBA              AppsFlyer       1,461       $2.0 Billion
                         Northeastern Univ., M.S.
 Chaitanya Kanojia                                            Starry         750        $1.29 Billion
                        Comp. Systems Engineering
                         Univ. of Minnesota, M.S.
  Vikram Kapoor                                             Lacework       1,000+       $8.3 Billion
                                 Comp. Sci.
                        Baruch College, BBA Bus.
Kohsuke Kawaguchi                                          CloudBees         600        $1.15 Billion
                                 & Admin.
                          UC-San Diego, M.S. and
                          Ph.D., Biophotonics and
                                                            Biosplice
   Osman Kibar           Optoelectronics, Caltech,                           100        $12 Billion
                                                           Therapeutics
                         B.S. EE, Pomona College,
                         B.A. Mathematical Econ.
  Roger Kjensrud        UC Santa Barbara, M.S. EE            Impact          990         $1.5 Billion
  Vijay Krishnan         Stanford, M.S. Comp. Sci.           Turing          575        $1.10 Billion
  Sudheer Koneru        UT Austin, M.S. Comp. Sci.           Zenoti         1,000        $1.5 Billion
                         Stanford, Ph.D. and M.S.
                        Comp Sci, Carnegie Mellon,
   Manu Kumar                                                 Carta         1,618       $7.4 Billion
                          M.S. and B.S. Software
                         Eng., Elec. & Comp. Eng.
                        MIT, B.S. Elec. Eng., M.S.
     Mark Lee                                               Splashtop        326        $1.0 Billion
                          Comp. Sci. & Elec. Eng.
                        UC Berkeley, M.S. & Ph.D.
    Yunsup Lee                                               SiFive          455        $2.5 Billion
                                 Comp. Sci.
   Arad Levertov                Duke, MBA                    Sunbit          405        $1.10 Billion
                          MIT, M.S., Ph.D. Media
   Natan Linder                                             Formlabs         768        $2.0 Billion
                              Arts & Sciences
     Larry Liu                UC Davis, MBA                  Weee!           388        $2.80 Billion
     Tom Livne                  Yale, MBA                    VerbIT          600         $2.0 Billion
                          Stanford, M.S. Electrical
  Tomer London                                                Gusto        2,000+       $1.1 Billion
                                Engineering
                        Princeton Univ., B.S. Elec.
   Joseph Lubin                                            ConsenSys         755        $3.2 Billion
                             Eng. & Comp. Sci.
    Max Lytvyn               Vanderbilt, MBA               Grammarly        700+         $15 Billion
    Chris Mansi               Stanford, MBA                  Viz.ai          312        $1.20 Billion
                              UC Berkley, Intl.
 Augusto Marietti                                             Kong           448        $1.4 Billion
                                 Economics
                          Carnegie Mellon Univ.,
  Paulo Marques                                              Feedzai         620        $1.0 Billion
                               Software Eng.
                        Purdue Univ., Agribusiness
 Ignacio Martinez                                           Indigo Ag       2,422       $3.5 Billion
                              Leadership Plus
                        Purdue Univ., Agribusiness
 Ignacio Martinez                                             Inari          230        $1.2 Billion
                              Leadership Plus



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                                                        Company
                                                                                       Value of
     Name              University/Degree                Founded/        Employees
                                                                                       Company
                                                        Cofounded
                   Univ. of Texas at Arlington,
 Rakesh Mathur     M.S. Industrial Engineering           GupShup          1,200       $1.4 Billion
                      & Operations Research
                     Univ. of Illinois, Urbana
Soham Mazumdar       Champaign, M.S. Comp.                Rubrik          2,334        $4 Billion
                                Sci.
                    UC Berkeley, EAP Comp.
  Rick McPhee                                             Upside           300        $2.5 Billion
                                Sci.
                     Harvard, MBA, Univ. of
                     Penn., M.S. Comp. Sci.,
 Manny Medina                                            Outreach         1,225       $4.4 Billion
                     Stevens Inst. Tech., B.S.
                            Comp. Eng.
                     Univ. of Virginia, M.A.
Abhishek Mehta                                            Tresata          70         $1.0 Billion
                      Banking Management
   Domingo         Stanford, M.S. Comp. Sci.,
                                                         Exabeam           594        $2.4 Billion
  Mihovilovic      Elec. Eng., Ph.D. Elec. Eng.
                     Univ. of Hawaii, Comp.
 Mikita Mikado                                          PandaDoc           390        $1.0 Billion
                      Sci., English, Japanese
Keyvan Mohajer      Stanford, Ph.D. Elec. Eng.         SoundHound          385        $1.0 Billion
                        NJIT, B.S. Comp.
                   Engineering, Georgia Tech,
Fayez Mohamood                                           Bluecore          448        $1.0 Billion
                       M.S. Elec. & Comp.
                            Engineering
                   UC Berkeley, Ph.D. Comp.
 Philipp Moritz                                          Anyscale          100        $1.0 Billion
                                Sci.
Richard Morris            Wharton, MBA                   Tresata            70        $1.0 Billion
Maijid Moujaled     Grinnell, B.A. Comp. Sci.          Chipper Cash        267        $2.0 Billion
                   Univ. of Penn., B.A., Econ
  Elon Musk        & Physics, Wharton School,            SpaceX          12,000      $100.3 Billion
                           B.S. Business
                   Univ. of Penn., B.A., Econ
                             & Physics,
  Elon Musk                                              OpenAI            250        $2.92 Billion
                      Wharton School, B.S.
                              Business
                   Univ. of Penn., B.A., Econ
                                                        The Boring
  Elon Musk        & Physics, Wharton School,                              197        $5.7 Billion
                                                         Company
                           B.S. Business
    Kannan          UC Berkeley, M.S. Comp.
                                                        YugaByte           327        $1.3 Billion
Muthukkaruppan                  Sci.
                     Univ. of Maryland, M.S.
 Sashi Narahari                                         HighRadius        3,635       $3.10 Billion
                            Mech. Eng.
                      Rensselaer Polytechnic
   Krishna
                     Institute, M.S. Comp. &             Netskope        1,500+       $7.5 Billion
Narayanaswamy
                             Sys. Eng.
                   UC-Berkeley, M.S. & Ph.D.
Sergiu Nedevschi                                      Tarana Wireless      279        $1.0 Billion
                            Comp. Sci.
                   Harvard, B.S. Mech. Eng. &
Aurelian Nicolae                                         WHOOP             330        $3.6 Billion
                             Mat. Sci.
                   Univ. of Miami, Computer
   Feng Niu                                               Alation          650        $1.2 Billion
                               Vision
Vaibhav Nivargi     Stanford, M.S. Comp. Sci.           Moveworks          456        $2.1 Billion


                                                  v
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                                                            Company
                                                                                           Value of
       Name                University/Degree                Founded/        Employees
                                                                                           Company
                                                           Cofounded
                        Univ. of Michigan, Ph.D.           SambaNova
  Kunle Olukotun                                                               144         $5 Billion
                               Comp. Eng.                    Systems
                       Stanford, M.S., E.E. Comp.
     Aly Orady                                                Tonal            790        $1.6 Billion
                        Architecture, Networking
                        Univ. of Central Florida,
    Bilal Orhan                                             Rec Room          200+        $3.5 Billion
                             M.S. Comp. Sci.
   Hubert Palan            UC Berkeley, MBA                Productboard        400        $1.7 Billion
                       UC Berkeley, Ph.D. Comp.
    Rabin Patra                                           Tarana Wireless      279        $1.0 Billion
                                   Sci.
                          Stanford, Ph.D., Univ.
    James Peng                                                Pony.ai         1,000       $5.3 Billion
                              Buffalo, M.S.
  German Peralta              Cornell, MBA                     Jokr            200        $1.20 Billion
                       Princeton, B.A. Comp. Sci.,
   Artem Petakov                                              Noom            2,090       $3.7 Billion
                                 Finance
                         Univ. of Texas-Austin,
   Amit Prakash                                            ThoughtSpot         731        $4.2 Billion
                            Ph.D. Comp. Eng.
                            Wayne State, M.S.
  Dhiraj Rajaram         Computer Engineering,              Mu Sigma          2,665       $1.5 Billion
                         Univ. of Chicago, MBA
                        Tulane Univ., B.S. Comp.
 Rajesh Ramanand                                             Signifyd         400+        $1.34 Billion
                                   Sci.
                             Stanford, Ph.D.
   Daniel Ramot                                                Via            1,000       $3.3 Billion
                              Neuroscience
                          Univ. of Miami, M.S.
  Venkat Rangan                                                Clari          600+        $2.6 Billion
                               Comp. Sci.
                         Univ. of Texas, Austin,
Karthik Ranganathan                                         YugaByte           327        $1.3 Billion
                             M.S. Comp. Sci.
 Prabhakar Reddy             Harvard, MBA                    FalconX           165        $3.75 Billion
  Tal Riesenfeld             Harvard, MBA                     Sunbit          405*        $1.10 Billion
                        Boston Univ., B.A., Bus.
  Oleg Rogynskyy          Admin., Pol. Sci., Intl.           People.ai         294        $1.10 Billion
                             Relations, Econ.
                                                             Diamond
 Martin Roscheisen     Stanford, Ph.D., Comp. Sci.                             300        $1.8 Billion
                                                             Foundry
    Israel Roth              Columbia, MBA                   K Health          360        $1.5 Billion
                         Univ. of Alabama, B.S.               REEF
 Philippe Saint-Just                                                          2,288       $1.0 Billion
                                Comp. Sci.                  Technology
                        Harvard, M.A. Finance &
    Daniel Saks                                             AppDirect          661        $1.10 Billion
                               Accounting
                       Purdue Univ., B.A. & M.S.
   Dhruv Saxena                                              ShipBob          1,200       $1.0 Billion
                                Elec. Eng.
Susanne Schöneberg         UC-Berkeley, MBA                  Flexport         2,573       $3.2 Billion
                       Cornell, B.S. Elec & Comp.
   Mada Seghete            Eng., Stanford, M.S.               Branch           466        $4.0 Billion
                        Manag. Sci. & Eng., MBA
  Ham Serunjogi            Grinnell, B.A. Econ.            Chipper Cash        267        $2.0 Billion
                        Stanford, M.S. Mang. Sci.
    Rohan Seth                                              Clubhouse          99          $4 Billion
                         & Eng., B.S. Comp. Sci.
                        Stanford, Ph.D. and M.S.
    Eric Setton                                               Tango            399        $1.10 Billion
                          Electrical Engineering
    Premal Shah           USC, M.S. Comp. Sci.                6Sense          1,250       $5.2 Billion
    Zhong Shao         Princeton, Ph.D. Comp. Sci.            CertiK           163        $2.0 Billion

                                                     vi
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                                                       Company
                                                                                    Value of
      Name               University/Degree             Founded/      Employees
                                                                                    Company
                                                       Cofounded
                       Carnegie Mellon Univ.,
  Tomer Shiran                                           Dremio         350        $2.0 Billion
                           M.S. Comp. Eng.
  Beerud Sheth          MIT, M.S. Comp. Sci             GupShup        1,200       $1.4 Billion
                       Univ. of Texas, Austin,
   Hitesh Sheth                                         Vectra AI       550        $1.2 Billion
                           B.A. Comp. Sci.
                      Stanford, Ph.D. candidate,
     Tim Shi                                             Cresta         150        $1.6 Billion
                          Machine Learning
   Eyal Shinar         Wharton School, MBA              Fundbox        300+        $1.10 Billion
Jonathan Siddharth    Stanford, M.S. Comp. Sci.          Turing         575        $1.10 Billion
                         Univ. of Iowa, Ph.D.
 Alessio Signorini     Artificial Intelligence &        Evidation       441        $1.0 Billion
                             Epidemiology
                       Univ. of Wisconsin Eau
  Davis Siksnans                                         Printful      1,700       $1.0 Billion
                     Claire, Information Systems
                         UCLA, M.S. Eng. &
                     Applied Eng., Univ. of MD,
   Varun Singh                                         Moveworks        456        $2.1 Billion
                          Ph.D. Eng. & Des.
                             Optimization
   Bipul Sinha         Wharton School, MBA               Rubrik       2,334*        $4 Billion
                         Northwestern, M.S.
  Agustin Soler         Industrial and Product          MURAL          925*        $2.0 Billion
                                Design
                       Carnegie Mellon Univ.,
                       M.S. Comp. Sci., Ph.D.
    Ion Stoica                                          Anyscale        123        $1.0 Billion
                           Elec. and Comp.
                              Engineering
                       Carnegie Mellon Univ.,
                       M.S. Comp. Sci., Ph.D.
    Ion Stoica                                         Databricks     3,000+       $38 Billion
                           Elec. and Comp.
                              Engineering
    Vijay Tella        UCLA, M.S. Comp Sci              Workato         825        $5.2 Billion
                     Univ. of Mich., Bachelor of
     Rich Teo                                            Paxos          250        $2.4 Billion
                             Bus. Admin.
                     Univ. of Cincinnati College
                          of Medicine, Ph.D.
   Martin Tolar        Neuroscience, Univ. of           Alzheon         25         $1.31 Billion
                           Michigan, Exec.
                             Management
                      Mayo Clinic, Cardiology,
                     Wayne State & State Univ.
   Uma Valeti                                         UPSIDE Foods      195        $1.0 Billion
                       of NY, Buffalo, Internal
                               Medicine
                                                        BitSight
Nagarjuna Venna              MIT, M.S.                                  650        $2.4 Billion
                                                      Technologies
                       Carnegie Mellon, M.S.,
Romesh Wadhwani                                        ConcertAI        995        $1.9 Billion
                          Ph.D. Elec. Eng.




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